USCA Case #22-1217       Document #2029692           Filed: 12/01/2023   Page 1 of 5



                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

Sierra Club,                                  )
                                              )
                    Petitioner                )
                                              )
               v.                             )           No. 22-1217,
                                              ) (consolidated with No. 22-1218)
United States Department of Energy,           )
                                              )
                    Respondent,               )
                                              )
Magnolia LNG, LLC,                            )
                                              )
               Respondent-Intervenor.         )
_________________________________             )

   MOTION OF RESPONDENT-INTERVENOR MAGNOLIA LNG, LLC
        TO WITHDRAW AND SUGGESTION OF MOOTNESS

       Pursuant to Rule 27 of the Federal Rules of Appellate Procedure and D.C.

Circuit Rule 27, Respondent-Intervenor Magnolia LNG, LLC (“Magnolia”) hereby

moves to withdraw from this consolidated case, with each party to bear its own costs.

In support hereof, Magnolia respectfully states as follows:

                                         I.

     On August 22, 2022, Sierra Club filed a petition, docketed under Case No.

22-1217, seeking review of two orders issued by the U.S. Department of Energy

(“Energy”). 1 Those orders amended Magnolia’s authorization to export liquefied


   1. Order Amending Long-Term Authorization to Export Liquefied Natural Gas
      to Non-Free Trade Agreement Nations, Magnolia LNG, LLC, DOE/FECM
USCA Case #22-1217      Document #2029692          Filed: 12/01/2023   Page 2 of 5



natural gas (“LNG”) to nations with which the United States does not have a free

trade agreement (“non-free trade nations”), increasing Magnolia’s authorized export

volumes from the equivalent of 394.2 to 449 billion cubic feet per year of natural

gas (“Incremental Authorization.”)       Under the terms of the Incremental

Authorization, Magnolia had a deadline of November 30, 2023, to commence

commercial LNG export operations from its Project.

     On September 20, 2022, Magnolia moved to intervene in No 22-1217, and its

intervention was granted on November 28, 2022. On December 23, 2022, the Court

consolidated No. 22-1217 with No. 22-1218, which involved a similar authorization

as to a Golden Pass LNG plant and raised the same procedural issues. Oral argument

in the consolidated case was held on October 17, 2023.

                                            II.

     Magnolia moves to withdraw as an intervenor because it has determined to

move forward with a new application to Energy for authorization to export LNG to

non-free trade nations. Magnolia has filed the new authorization request with

Energy. The authorization that is the subject of the proceeding docketed at No. 22-

1217 expired November 30, 2023 under its terms, as export operations had not



      Order No. 3909-C, FE Docket No. 13-132-LNG (April 27, 2022); Order
      Denying Request for Rehearing, Magnolia LNG, LLC, DOE/FECM Order No.
      3909-D, DOE/FECM Docket No. 13-132-LNG (June 24, 2022).

                                        2
USCA Case #22-1217       Document #2029692             Filed: 12/01/2023   Page 3 of 5



commenced. Accordingly, Magnolia no longer has an interest in this proceeding

concerning that authorization and is withdrawing from it, and Sierra Club’s request

to vacate that authorization is now moot. 2

                                              III.

     Magnolia thus respectfully requests that this Court grant its Motion to

Withdraw as an intervenor in this consolidated proceeding, and suggests that Case

No. 22-1217 is now moot.

                                              Respectfully submitted,


                                               /s/ John Longstreth
                                              John Longstreth
                                              David L. Wochner
                                              Timothy J. Furdyna
                                              K&L Gates LLP
                                              1601 K Street, N.W.
                                              Washington, DC 20006
                                              Phone: (202) 778-9000
                                              Fax:     (202) 778-9100
                                              Email: john.longstreth@klgates.com
                                                       david.wochner@klgates.com
                                                       tim.furdyna@klgates.com

                                              Counsel for Magnolia LNG, LLC


December 1, 2023


2
  See Vecinos para el Bienestar v. FERC, 6 F.4th 1321, 1327 (D.C. Cir. 2021)
(dismissing as moot an appeal of an authorization for Annova LNG Common
Infrastructure, LLC (“Annova”), where Annova informed the court it no longer
intended to pursue the subject authorization and withdrew as an intervenor from the
proceeding.)
                                          3
USCA Case #22-1217      Document #2029692          Filed: 12/01/2023   Page 4 of 5



                     CERTIFICATE OF COMPLIANCE
        1.     This document complies with the word limit established by Fed.

  R. App. P. 27(d) and 32(g)(2) because, excluding the parts of the document

  exempted by Rule 32(f), the document contains 431 words.

        2.     This brief complies with the typeface requirements of Fed. R.

  App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6),

  because this brief has been prepared in a proportionally spaced typeface using

  Microsoft Office 365 in Times New Roman 14-point font.


                                          Respectfully submitted,


                                          /s/ John Longstreth

                                          John Longstreth
                                          David L. Wochner
                                          Timothy J. Furdyna
                                          K&L GATES LLP
                                          1601 K Street, NW
                                          Washington, DC 20006
                                          Phone: 202.778.9000
                                          Email: john.longstreth@klgates.com
                                                 david.wochner@klgates.com
                                                 tim.furdyna@klgates.com


                                          Counsel for Respondent-
                                          Intervenor Magnolia LNG, LLC


   December 1, 2023
USCA Case #22-1217      Document #2029692          Filed: 12/01/2023    Page 5 of 5



                        CERTIFICATE OF SERVICE


        I hereby certify that on this 1st day of December, 2023, I electronically

  filed the foregoing Motion to Withdraw of Magnolia LNG, LLC with the

  Clerk of the Court for the United States Court of Appeals for the District of

  Columbia Circuit by using the CM/ECF system. Participants in the case who

  are registered CM/ECF users will be served by the CM/ECF system. I further

  certify that I have mailed the foregoing document by first-class mail, postage

  prepaid, to any participants in the case who are not CM/ECF users.



                                         /s/ John Longstreth




                                        2
